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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE
 9   UNITED STATES OF AMERICA,   )
                                 )                      NO.     CR06-0301L
10                 Plaintiff,    )
                                 )                      ORDER GRANTING DEFENDANT
11            v.                 )                      BELL’S MOTION TO CONTINUE
                                 )                      THE TRIAL DATE
12   FRANKIE ROBERTSON BUTLER &, )
     MICHAEL ANTHONY BELL,       )
13                               )
                   Defendants.   )
14                                                )
15
              THE COURT having considered Defendant Bell’s motion to continue the trial date
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     (Dkt. No. 65), his counsel’s declaration (Dkt. No. 66), the records and files herein,
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     including, but not limited to Defendant Bell’s and Defendant Butler’s agreement and
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     waiver to extend the time for trial (Dkt. Nos 68, 69), hereby makes the following findings
19
     of fact:
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              1.     The Court finds that the defendants, Frankie Robertson Butler and Michael
21
     Anthony Bell, are joined for trial, pending the outstanding motion by defendant Bell to
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     sever.
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              2.     The Court finds that it is unreasonable to expect counsel for Mr. Bell to be
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     prepared for trial on January 29, 2007, The Court finds that a failure to grant the
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     continuance would deny counsel the reasonable time necessary for effective preparation,
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     taking into account the exercise of due diligence, within the meaning of 18 U.S.C. §
27
     3161(h)(8)(B)(iv).
28
     ORDER GRANTING DEFENDANT BELL’S
     MOTION TO CONTINUE THE TRIAL DATE
     BUTLER & BELL, CR06-0301L - 1                                                 UNITED STATES ATTORNEY
                                                                                    700 Stewart Street, Suite 5220
                                                                                   Seattle, Washington 98101-1271
                                                                                            (206) 553-7970
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 1          3.     The Court finds that the ends of justice will be served by ordering a
 2   continuance in this case. The Court further finds that the continuance is necessary to
 3   insure effective trial preparation and that these factors outweigh the bests interests of the
 4   public in a more speedy trial within the meaning of 18 U.S.C. § 3161(h)(8)(A).
 5          4.     The Court specifically finds that continuing this case to April 30, 2007, is
 6   reasonable and provides Mr. Bell’s counsel with the necessary time to prepare for trial
 7   and results in no prejudice to Mr. Butler, within the meaning of 18 U.S.C. § 3161(h)(7).
 8          IT IS THEREFORE ORDERED that the trial date be continued from January 29,
 9   2007 to April 30, 2007.
10          IT IS FURTHER ORDERED that the period of time from January 29, 2007, up to
11   and including the new proposed trial date of April 30, 2007, shall be excludable time
12   pursuant to the Speedy Trial Act, 18 U.S.C. §§ 3161, et. seq.
13          DONE this 24th day of January, 2007.
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                                                               A
16                                                             Robert S. Lasnik
                                                               United States District Judge
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     ORDER GRANTING DEFENDANT BELL’S
28
     MOTION TO CONTINUE THE TRIAL DATE
     BUTLER & BELL, CR06-0301L - 2                                                 UNITED STATES ATTORNEY
                                                                                    700 Stewart Street, Suite 5220
                                                                                   Seattle, Washington 98101-1271
                                                                                            (206) 553-7970
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     ORDER GRANTING DEFENDANT BELL’S
28
     MOTION TO CONTINUE THE TRIAL DATE
     BUTLER & BELL, CR06-0301L - 3                                     UNITED STATES ATTORNEY
                                                                        700 Stewart Street, Suite 5220
                                                                       Seattle, Washington 98101-1271
                                                                                (206) 553-7970
